Case 13-14287-amc         Doc 66    Filed 09/13/16 Entered 09/13/16 12:20:24          Desc Main
                                    Document     Page 1 of 3


RICHARD N. LIPOW
ATTORNEY AT LAW
629 SWEDESFORD ROAD
MALVERN PA 19355
610-251-2500


                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

IN RE Patricia Kubicek                          :
                                                :
                                                :
              DEBTOR                            : Chapter 7
MTGLQ Investors, LP,                            : DOCKET: 13-14287-JKF
Movant                                          : Hearing Date: 1/6/2016; 9:30 am; Crtrm 3
                                                :
v.                                              :
                                                :
Patricia Kubicek, Debtor                        :
                                                :
and                                             :
                                                :
William Miller, Trustee                         :
                                                :
                                                :
                                                :
                                                :


                     Response to Motion for Relief from Automatic Stay

        Comes now Debtor Patricia Kubicek who opposes the motion as follows:



      1. Admitted.

      2. Denied. Document speaks for itself.

      3. Denied in part and admitted in part.

      4. Denied. Debtor has made all post petition payments.

      5. Denied.



                                                       -1-
Case 13-14287-amc       Doc 66    Filed 09/13/16 Entered 09/13/16 12:20:24             Desc Main
                                  Document     Page 2 of 3


    6. Denied.

    7. Denied.

    8. Denied.

    9. Denied.

    10.       Movant had no need to incur legal fees as there is no post petition default.

    11.       Admitted.

    WHEREFORE, debtor prays for an order denying the relief requested and awarding

    attorney fees to the Debtor for the cost of responding to the instant motion which motion

    was brought in bad faith.

                                              RESPECTFULLY SUBMITTED,


                                                   /s/ RICHARD N. LIPOW
                                            By_________________________________
                                            RICHARD N. LIPOW, ESQUIRE
                                            Attorney for the Debtor
                                            629 Swedesford Road Malvern PA 19355 610-
                                            251-2500




                                                    -2-
Case 13-14287-amc       Doc 66    Filed 09/13/16 Entered 09/13/16 12:20:24           Desc Main
                                  Document     Page 3 of 3




                                      CERTIFICATE OF SERVICE


The undersigned certifies that the foregoing document with any and all exhibits and Notice of
Motion were electronically served on the movant’s attorney, as well as the US and Chapter
13 Trustees at the time those documents were filed.

Dated: 9/13/16                       /s/ Richard N Lipow
                                     Richard N Lipow
                                     Attorney for the Debtor




                                                    -3-
